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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Case No.     11-cr-00184-WYD

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1. LEON HENDERSON ASKEW,

       Defendant.

                                     MINUTE ORDER

ORDER ENTERED BY CHIEF JUDGE WILEY Y. DANIEL

        THIS MATTER is before the Court on the following four pro se motions filed by the
Defendant: (1) Motion to Suppress Search and For Return of Seized Property [ECF No.
104], filed June 13, 2012; (2) Motion for Acquittal/Motion for New Trial [ECF No. 105], filed
June 14, 2012; (3) Motion Objecting to Striking of Motions [ECF No. 106], filed June 14,
2012; and (4) Motion for Protective Order [ECF No. 107], filed June 14, 2012.

      Under the law, there is no constitutional right to a hybrid form of representation.
See United States v. Bennett, 539 F.2d 45, 49 (10th Cir. 1976). Defendant is currently
represented by counsel, Daniel T. Smith. Consequently, the Court will not consider a
motion that the Defendant has filed pro se. Accordingly it is

        ORDERED that Defendant’s pro se (1) Motion to Suppress Search and For Return
of Seized Property [ECF No. 104], filed June 13, 2012; (2) Motion for Acquittal/Motion for
New Trial [ECF No. 105], filed June 14, 2012; (3) Motion Objecting to Striking of Motions
[ECF No. 106], filed June 14, 2012; and (4) Motion for Protective Order [ECF No. 107],
filed June 14, 2012 are STRICKEN.

       Dated: June 15, 2012
